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IN THE UNITED sTATEs DISTRICT COURT FoR I'ili§'~’ Q{ j?~/) D'("
WESTERN DISTRICT 0F TENNESSEE, WESTERN DIX§SMF 7 ph h ll
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CLEF~N\’., U.-‘ES. DFST. CT.
W.D. C)’r: TN, MEMPH|S

PEARL J. PIGUES, a Tennessee resident,
Plaintiff,

v. Case No. 05-2186 Ml P

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)
GMAC MORTGAGE CORPORATION, )
a Pennsylvania Corporation, and )
WILSON & ASSOCIATES, P.L.L.C. )
Attorneys at Law, an Arkansas Lirnited )
Liability Company, )

)

)

Defendants.

 

-[~PRGPGSE-B-} RULE 16(B) SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held J unc 9, 2005.
Present Were Frank Watson, counsel for plaintiff, Robert R. Maddox, counsel for
defendant GMAC Mortgage Corporation, and Lucian T. Pera and Brian S. Faughnan,
counsel for defendant Wilson & Associates, P.L.L.C. At the conference, the following
dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(a)(1): On or before
June l6, 2005

JOINING PARTIES: On or before August 1, 2005

AMENDING PLEADINGS: On Or before August l, 2005

COMPLETING ALL DISCOVERY: Decernber 16, 2005

(a) DOCUMENT PRODUCTION: Decernber 16, 2005

Th.is dccumsnt entered on he docks shea in c:gp!iance
With Rule 58 and/or 79(a} FRCP on fQ“gZ §,U

 

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: December 16, 2005
(c) EXPERT WITNESS DISCLOSURE (Rule 26):
(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: On or before October 14, 2005
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: On or before November 15, 2005

(3) EXPERT WITNESS DEPOSITIONS: By December 16, 2005
FILING DISPOSITIVE MO'I`IONS: On or before January 20, 2006
OTHER RELEVANT MA'I`TERS:

No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond
by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and Served by the discovery deadline
or within 30 days of the default or the service of the response, answer, or objection,
which is the subject of the motion, if the default occurs Within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or

the objection to the default, response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last § days. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge.

Based on the representations of the parties, this case is not presently appropriate
for ADR.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a
proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required

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The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be

modified or extended

TU M. PHA`M
UNITED sTArEs MAGISTRATE JUDGE

IT IS SO ORDERED.

 

DATE: f:l:iu~z. 'l l.'c.t)<>$.'

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02186 Was distributed by fax, mail, or direct printing on
June 8, 2005 to the parties listed.

ESSEE

 

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US DISTRICT COURT

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